Case 19-80064-TLS           Doc 1684      Filed 07/10/19 Entered 07/10/19 11:36:49                     Desc Main
                                         Document     Page 1 of 6


                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF NEBRASKA

 IN RE:                                                       )        CASE NO. BK 19-80064-TLS
                                                              )               Chapter 11
 SPECIALTY RETAIL SHOPS HOLDING                               )
 CORP., et al1                                                )
                                                              )
                           Debtors.                           )

  MCKESSON CORPORATION’S OBJECTION TO DEBTORS’ MOTION FOR ENTRY
   OF AN ORDER ESTABLISHING BIDDING PROCEDURES FOR THE SALE OF
                   CERTAIN REAL PROPERTY [ETC.]

          McKesson Corporation (“McKesson”), by and through its undersigned counsel, hereby

 submits this Objection to the Motion for Entry of an Order (A) Establishing Bidding Procedures

 for the Sale of Certain Real Property, and (B) Granting Certain Related Relief (the “Sale

 Procedures Motion”), filed in the above-captioned jointly administered cases of Specialty Retail

 Shops Holding Corp. and its affiliated debtors (collectively, “Debtors”).

 I.       INTRODUCTION

          1.      McKesson does not object to the sale of the properties included in the Sale

 Procedures Motion. In fact, McKesson strongly supports a sale of the properties. McKesson

 does, however, question the break-neck speed at which Debtors propose to run the process to sell

 66 properties located throughout the U.S., in an open auction with no pre-selected stalking horse

 purchasers – approximately 3 weeks from soup to nuts. Common sense and experience dictate

 that such a quick process to sell 66 pieces of real property scattered across 15 states is not

 designed to, and will not, yield maximum value. And, Debtors have offered no evidence to

 support their assertion that the process must proceed at such a pace. The process should be



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           The Debtors in these Chapter 11 cases are: Specialty Retail Shops Holding Corp.; Pamida Stores Operating
 Co., LLC; Pamida Transportation LLC; Penn-Daniels, LLC; Place’s Associates’ Expansion, LLC; Retained R/E
 SPE, LLC; Shopko Finance, LLC; Shopko Gift Card Co., LLC; Shopko Holding Company, LLC; Shopko
 Institutional Care Services Co., LLC; Shopko Optical Manufacturing, LLC; Shopko Properties, LLC; Shopko Stores
 Operating Co., LLC; SVS Trucking, LLC.

                                                         1
 BN 36938343v3
Case 19-80064-TLS           Doc 1684        Filed 07/10/19 Entered 07/10/19 11:36:49       Desc Main
                                           Document     Page 2 of 6


 slowed at least long enough to permit proper marketing of the properties, and to permit any

 potential buyers a reasonable opportunity for due diligence before making bids.

 II.      BACKGROUND

          2.       Debtors commenced voluntary cases under chapter 11 of title 11 of the United

 States Code (the “Bankruptcy Code”) on January 16, 2019. Debtors’ bankruptcy cases were

 administratively consolidated pursuant to an order entered on January 16, 2019 [Dk. No. 25]. An

 Order confirming the Third Amended Joint Chapter 11 Plan of Specialty Retail Shops Holding

 Corp. and Debtor Affiliates (the “Plan”) was entered on June 7, 2019 [Dk. No. 1557].2 The Plan

 is a liquidating plan, and as was made clear at the hearings on confirmation of the Plan, Debtors

 are deeply insolvent and there is no realistic likelihood that general unsecured creditors will

 receive any recovery. In other words, the roughly 100 administrative creditors, with claims

 totaling between $17 million and $50 million, have the actual economic stake in the success of

 the proposed sales. McKesson is one of those administrative creditors.

          3.       Debtors filed the Sales Procedure Motion on July 2, 2019 [Dk. No. 1651]. By the

 Sales Procedure Motion, Debtors seek approval of an extremely expedited marketing, bidding

 and sale timeline to sell 60 vacant lots and 6 developed properties located in 15 states, in an open

 auction. The Court entered its text Order scheduling a hearing on the Sales Procedure Motion

 for July 12, 2019, with objections due on July 10, 2019 (the “Bid Procedures Hearing”) [Dk. No.

 1661].

          4.       Under Debtors’ proposed procedures, the bid deadline for all 66 properties would

 be July 22 (just 10 days after the Bid Procedures Hearing and roughly 3 weeks after the Debtors’

 real estate broker was engaged to market and sell the properties) and the auction would take

 place on July 24, 2019 (a mere 12 days after the Bid Procedures Hearing.). To receive due

 diligence information about the properties, a potential buyer must submit a request for such

 information by the bid deadline (again, July 22). Under the proposed terms, Debtors would have

 no obligation to provide any due diligence information after June 22. The proposed procedures

 22
          The Plan has not yet gone effective.

                                                     2
 BN 36938343v3
Case 19-80064-TLS           Doc 1684      Filed 07/10/19 Entered 07/10/19 11:36:49                     Desc Main
                                         Document     Page 3 of 6


 do not appear to include any opportunity for physical inspection of the properties. Indeed, since

 the 66 properties are scattered over 15 states, there is simply no time for inspections in Debtors’

 proposed timeline.

         5.       In support of the Sales Procedure Motion, Debtors filed the Declaration of

 Michael Jerbich [Dk. No. 1663]. According to his Declaration, Mr. Jerbich is a Principal of

 A&G Realty Partners, LLC (“A&G”), identified as Debtors’ real estate broker.3 Mr. Jerbich

 notes that while prior to the Petition Date A&G conducted a real property analysis and helped

 plan a disposition strategy should that become necessary, A&G was only “recently” contacted to

 actually market the properties. Aside from “recently,” Mr. Jerbich offers nothing more specific

 about when A&G commenced any marketing activities.

         6.       Also in support of the Sales Procedure Motion, Debtors filed their Request for an

 expedited Hearing [etc.] [Dk. No. 1664]. According to Debtors, the reason for such an expedited

 sale process is to avoid unnecessary and continuing carrying costs, while maximizing value for

 stakeholders. Yet, nowhere in their papers do Debtors evidence or even suggest what those

 carrying costs could be. Given that 60 of the 66 properties are vacant lots, carrying costs during

 the time it would take for a less hurried and more orderly process cannot be much. Debtors also

 offer that because they have already “undertaken an extensive marketing campaign” through

 A&G, there is no need for a longer marketing process. Yet, again according to the Jerbich

 Declaration, A&G was only “recently” contacted to market the properties. Finally, Debtors

 merely assert, without evidence, that a longer process would not result in a greater yield.

 III.    DISCUSSION

         7.       As Debtors correctly point out, a debtor’s business judgment in determining when

 and how to dispose of estate assets is generally given deference so long as there is a sound or

 articulated business justification. See e.g. In re Trilogy Development Co, LLC, 201 Bankr.

 LEXIS 5636, at *3-4 (Bankr. W. D. Mo. 2010); In re Schipper, 933 F.2d 513, 515 (7th Cir


 33
         Curiously, no application to employ A&G as Debtors’ real estate broker, (nor obviously any order
 approving such application) appears on the docket.

                                                         3
 BN 36938343v3
Case 19-80064-TLS        Doc 1684      Filed 07/10/19 Entered 07/10/19 11:36:49            Desc Main
                                      Document     Page 4 of 6


 1991). Of course, as Debtors also point out, the paramount goal of any proposed sale of property

 of the estate is to maximize the proceeds received by the estate. In re Food Barn Stores, Inc. 107

 F3d 558, 564-65 (8th Cir. 1997).

         8.      As discussed above, Debtors have not (and cannot) articulated a sound business

 justification for the extreme speed of the proposed process. Debtors have offered no evidence

 that carrying costs demand such a quick process. Again, given that 60 of the 66 properties are

 vacant lots, carrying costs during the time it would take for a less hurried process cannot be

 much. Moreover, according to the Jerbich Declaration, A&G was only “recently” contacted to

 market the properties. Surely, the administrative creditors’ interests would benefit from a more
 proper marketing process. And, a proper process need not be long – perhaps an additional two to

 three months. Debtors’ mere assertion, without evidence, that a longer process would not result

 in a greater yield should not carry the day, particularly since Debtors have no economic stake in

 the outcome of the proposed sales.


 IV.     CONCLUSION

         Undoubtedly, this Court has had considerable experience in the sale of real property.

 McKesson suspects this Court never (or very rarely) has been asked to approve a 3-week process

 to market and sell real estate, when no committed buyer has been procured by the debtor/trustee.

 Now, expand this 3-week marketing, sale process, and auction by 66 properties located in 15

 states, with no pre-selected stalking horse purchasers, and the flaws are obvious. So, while

 McKesson supports the sale of the properties, it cannot support the process Debtors wish to

 employ as it will not maximize the value—value which will be paid to the administrative




                                                  4
 BN 36938343v3
Case 19-80064-TLS        Doc 1684     Filed 07/10/19 Entered 07/10/19 11:36:49             Desc Main
                                     Document     Page 5 of 6


 creditors of this estate. For this reason, the Debtors have not satisfied the business judgment test

 and the motion must be either i) modified to correct the poorly-thought out sale procedures or

 ii) denied.


 Dated: July 10, 2019                                 CLINE WILLIAMS WRIGHT JOHNSON &
                                                      OLDFATHER, L.L.P.


                                                      /s/ Michael J. Whaley__________________
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                                                  5
 BN 36938343v3
Case 19-80064-TLS       Doc 1684     Filed 07/10/19 Entered 07/10/19 11:36:49             Desc Main
                                    Document     Page 6 of 6


                                 CERTIFICATE OF SERVICE

          I hereby certify that on the 10th day of July, 2019, I caused the above document to be
 filed in the Bankruptcy Court’s CM/ECF system which gave electronic notification
 electronically upon all parties who filed an appearance or requested notice by electronic filing in
 this case.


                                                      /s/ Michael J. Whaley__________________



 4824-2095-2988, v. 1




                                                  6
 BN 36938343v3
